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                    UNITED STATES DISTRICT COURT
       FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.2)
                                 Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:25−cv−01285
                                                         Honorable Lindsay C. Jenkins
State of Illinois, et al.
                                         Defendant.



                            NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, February 6, 2025:


         MINUTE entry before the Honorable Lindsay C. Jenkins: In person initial status
hearing set for April 15, 2025 at 9:00 a.m. in Courtroom 2119. Initial Status Report shall
be filed by April 8, 2025. The report should comply with the requirements set forth in the
Initial Status Report standing order, which can be found at Judge Jenkins's web page @
(http://www.ilnd.uscourts.gov, "District Judges", to "Judge Lindsay Jenkins", to "Initial
Status Hearings" under Case Management Procedures"). The parties must follow all the
standing orders for Judge Jenkins and all Local Rules, which can be found at the same
web page. At the Initial Status hearing, the parties are to report on the following: (1)
Possibility of settlement in the case; (2) if no possibility of settlement exists, the nature
and length of discovery necessary (with specific dates) to get the case ready for trial; and
(3) whether the parties jointly consent to proceed before the Magistrate Judge. At the
Initial Status Hearing, the Parties shall be prepared to inform the Court about the extent of
monetary damages in order for the Court to address the proportionality of discovery as
required by Fed. R. Civ. P. 26. Mailed notice. (jlj, )




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